   Case: 1:20-cv-06316 Document #: 124 Filed: 06/13/22 Page 1 of 2 PageID #:2797




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

FRED L. NANCE, JR.,                          )
                                             )
       Plaintiff,                            )
                                             )               No. 20 C 6316
       v.                                    )
                                             )               Judge Jorge L. Alonso
EMAGES, INC.,                                )
HATTIE WASH, and                             )
THOMAS BRADLEY,                              )
                                             )
       Defendants.                           )

                                             ORDER

       Plaintiff’s motion [120] to supplement is granted in part and denied in part.

                                         STATEMENT

        Plaintiff has filed a motion to supplement. In the motion, he seeks two things. First, he
seeks leave to supplement his prior motion [110] with an exhibit [120-3]. Exhibit 120-3 is a
copy of an April 28, 2022, letter from the U.S. Department of Justice to plaintiff, in which letter
the DOJ denies plaintiff’s administrative claim. That letter was relevant to motion [110], and the
Court considered the exhibit when it considered the motion. Accordingly, the motion to
supplement is granted in part, in that plaintiff is allowed to supplement motion [110] with exhibit
[120-3]. To be clear, plaintiff may not refile the exhibit or the motion. The Court has already
considered exhibit 120-3 in connection with motion 110.

        Second, plaintiff seeks leave to supplement his amended complaint with allegations of
events that occurred in May 2022. Specifically, plaintiff would like to add to his amended
complaint allegations that, in May 2022, he asked EMAGES to fill out paperwork for student
loan forgiveness and that EMAGES did not immediately respond. Plaintiff does not say what
these allegations have to do with his other claims, but presumably he means to suggest that the
May 2022 allegations constitute another example of retaliation. This Court will not allow
plaintiff to add retaliation allegations every time he interacts with defendants. Such claims
would be futile at this point, given that more than eighteen months passed between the plaintiff’s
alleged whistleblowing and the alleged May 2022 events. See Horwitz v. Board of Ed. of Avoca
School Dist. No. 37, 260 F.3d 602, 619 (7th Cir. 2001) (affirming dismissal of retaliation claim
where “eighteen months had passed” between the protected activity and the alleged retaliatory
conduct, explaining that the “two events are simply too remote in time” to infer a causal
connection). Thus, the Court denies plaintiff’s motion as to the request that plaintiff be allowed
to supplement his complaint with allegations of the May 2022 events.
  Case: 1:20-cv-06316 Document #: 124 Filed: 06/13/22 Page 2 of 2 PageID #:2798




     Accordingly, the motion is granted in part and denied in part.

SO ORDERED.                                               ENTERED: June 13, 2022



                                                          ______________________
                                                          HON. JORGE ALONSO
                                                          United States District Judge




                                              2
